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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

UNITED STATES OF AMERICA, CASE NUMBER

PLAINTIFF CR 2:21-cr-00075-MCS
v.

 

Yixin Li, aka "Eason Li" and "Calvin Wong” and

Yi Chen, aka "Brian Chen," APPLICATION FOR

REVIEW/RECONSIDERATION OF ORDER
SETTING CONDITIONS OF

DEFENDANT. RELEASE/DETENTION

(18 U.S.C. §3142) AND REQUEST FOR HEARING

 

 

Application is made by D plaintiff W defendant Yi Chen
that a hearing be held to review /reconsider the decision of

O United States District Judge by order dated:

 

wf Magistrate Judge Paul Abrams by order dated: 03/08/2021

wy denying release and imposing detention under subsection DO (d) or O (e) of Title 18 U.S.C. §3142; or
O ordering release upon certain conditions, or
O denying detention.

This application is made W pre-sentence Q post-sentence based on the following facts not previously considered by
said judicial officer or changed circumstances as follows:
Defendant Yi Chen's proposed sureties are:

1. Kenneth L. Lu, MD, Ophthalmologist, 622 W. Duarte Rd., #101, Arcadia, CA 626-446-2122; neighbor of Yi Chen

2. Kevin Nee, Insurance Agent, US Citizen; Tel: 323-233-8888
3. Mike Guofeng Gao, Insurance Agent , 16511 E. Nubia St., Covina, CA Tel: 626-620-4588
4. Rainer Thon eGhsaase 1540 Euclid Ave., #B, San Gabriel,CA Tel: 626-244-1246

Release upon cash bail and signature bond from sureties.

Counsel for the defendant and plaintiff United States Government consulted on

 

and opposing counsel declines to stipulate to an order providing the relief sought.

wy Telephonic notice given to (WAUSA CO Defendant’s Counsel MPSA O Interpreter O USM UO Probation
on .

 

An interpreter is O required O not required. Language

 

Defendant is Wf in custody O not in custody.

03/11/2021 a

Date Moving Party Elizabeth Lou
Attorney for Defendant Yi Chen

 

APPLICATION FOR REVIEW/RECONSIDERATION OF ORDER SETTING CONDITIONS OF
RELEASE/DETENTION, (18 U.S.C. §3142) AND REQUEST FOR HEARING
CR-88 (06/07)
